
Hughes, J., concurring.
The appropriate channel for defendant to obtain the records he seeks (regardless of their utility at this late date) would instead be according to public records law. Generally, custodians of public records must provide inmates with a cost estimate for production of documents to which the inmates are entitled under the Public Records Law, R.S. 44:31 ; R.S. 44:31.1 ; State ex rel. Leonard v. State , 96-1889 (La. 6/13/97), 695 So.2d 1325, and which the inmates want to buy. See, e.g. , Landis v. Moreau , 00-1157, p. 6 (La. 2/21/01), 779 So.2d 691, 695 ; State ex rel. Level v. State , 99-2266 (La. 12/17/99), 751 So.2d 869 ; Range v. Moreau , 96-1607 (La. 9/3/96), 678 So.2d 537. However, those seeking such documents must make a demand of the record's custodian before seeking judicial review. R.S. 44:35(A). Only after a fruitless demand of the custodian may they seek mandamus relief. Id. In addition, they may seek judicial review only in an independent action under the district court's civil jurisdiction. State ex rel. McKnight v. State , 98-2258 (La. App. 1 Cir. 12/03/98), 742 So.2d 894.
